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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION


  MARK W. DOBRONSKI,

        Plaintiff,

                                           Case No. 2:22-cv-12039
  v.                                       District Judge Mark A. Goldsmith
                                           Magistrate Judge Kimberly G. Altman


  FAMILY FIRST LIFE, LLC; UNITED
  OF OMAHA LIFE INSURANCE
  COMPANY; AMERICO FINANCIAL
  LIFE AND ANNUITY INSURANCE
  COMPANY; GREAT WESTERN
  INSURANCE COMPANY; YOUR
  SENIOR CARE INC.; KHONSAVAN
  VONGDARA; LEWIS JAN
  FRIEDMAN a/k/a LUKE FRIEDMAN;
  SHANNON ADAMS a/k/a CLAUDIA
  SHANNON ADAMS; DONTE C.
  GRANT; OLIVIA PEREZ; VANINA
  E. BONANNO; VANESSA ISABEL
  POWELL; EMMANUEL CHIBUZOR
  IGWEH; DARIO JOSEPH
  WICKHAM; BLAKE HUNTER
  SCHEIFELE; PAUL RYAN
  CHRISTLE; and GRETCHEN LOUISE
  DROUHARD,

       Defendants.
 _________________________________/




                                       i
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     REPORT AND RECOMMENDATION TO GRANT AMERICO, OMAHA,
     AND GREAT WESTERN’S MOTIONS TO DISMISS (ECF Nos. 103, 105,
        113) AND TO GRANT IN PART AND DENY IN PART OTHER
             DEFENDANTS’ MOTIONS (ECF Nos. 106, 107, 143) 1

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  Upon review of the parties’ motions, the undersigned deems these matters
 appropriate for decision without oral argument. See Fed. R. Civ. P. 78(b); E.D.
 Mich. LR 7.1(f)(2). Additionally, the undersigned informed the parties that the
 motions would be determined without oral argument. (ECF No. 176).
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                                  I.     Introduction

       This is a consumer rights case under the Telephone Consumer Protection

 Act of 1991 (TCPA), 47 U.S.C. § 227 et seq.; the Michigan Telephone Companies

 as Common Carriers Act (MTCCCA), M.C.L. § 484.101 et seq.; the Michigan

 Home Solicitation Sales Act (MHSSA), M.C.L. § 445.101 et seq.; and the

 Michigan Consumer Protection Act (MCPA), M.C.L. § 445.901 et seq. On

 November 20, 2023, all pretrial matters were referred to the undersigned. (ECF

 No. 172).

       Plaintiff Mark Dobronski (Dobronski),2 proceeding pro se, alleges that

 unsolicited telephone calls utilizing an automatic telephone dialing system violated

 the TCPA, MTCCCA, MHSSA, and MCPA. (ECF No. 99, First Amended

 Complaint). The First Amended Complaint asserts thirteen claims against

 defendants, which will be set forth below. Defendants are as follows: Family First

 Life, LLC (Family First), United of Omaha Life Insurance Company (United),

 Americo Financial Life And Annuity Insurance Company (Americo), Great

 Western Insurance Company (Great Western), Your Senior Care Inc. (YSC),



 2
   Dobronski is “a litigant who frequently files similar lawsuits in this District”
 alleging violations of the TCPA. Dobronski v. Total Ins. Brokers, LLC, No. 21-
 10035, 2021 WL 4452218, at *1 (E.D. Mich. Sept. 29, 2021). As one defendant
 notes, “[i]n the past five years, [Dobronski] has filed at least thirty-five complaints
 in the Eastern District of Michigan.” (ECF No. 107, PageID.1180 (emphasis in
 original)).
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 Khonsavan Vongdara (Vongdara), Lewis Jan Friedman a/k/a Luke Friedman

 (Friedman), Shannon Adams a/k/a Claudia Shannon Adams (Adams), Donte C.

 Grant (Grant), Olivia Perez (Perez), Vanina E. Bonanno (Bonanno), Vanessa

 Isabel Powell (Powell), Emmanuel Chibuzor Igweh (Igweh), Dario Joseph

 Wickham (Wickham), Blake Hunter Scheifele (Scheifele), Paul Ryan Christle

 (Christle), and Gretchen Louise Drouhard (Drouhard).

       Before the Court are six motions to dismiss.3 (ECF Nos. 103, 105, 106, 107,

 113, 143). All are fully briefed and ready for consideration. (ECF Nos. 116, 118,

 120, 124, 128, 129, 130, 131, 136, 148, 152, 153, 170, 171). For the reasons that

 follow, the undersigned RECOMMENDS the following:

          • Americo’s motion to dismiss, (ECF No. 103), be GRANTED;

          • Great Western’s motion to dismiss, (ECF No. 105), be GRANTED;

          • United’s motion to dismiss, (ECF No. 113), be GRANTED;

          • Family First’s motion, (ECF No. 107), be GRANTED IN PART and
            DENIED IN PART;

          • Vongdara, Adams, Grant, Powell, Wickham, Igweh, and Bonanno’s
            motion, (ECF No. 106), be GRANTED IN PART and DENIED IN
            PART; and

          • Scheifele and Christle’s motion, (ECF No. 143), be GRANTED IN
            PART and DENIED IN PART.


 3
  YSC, Perez, and Drouhard have not appeared in the matter or filed any motions,
 while Friedman has appeared pro se and has filed an answer to the complaint,
 (ECF No. 19).
                                        2
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       If these recommendations are adopted, the following claims would survive

 dismissal: Count I as to Family First and the individual defendants; Count II as to

 Perez, Grant, and Family First; Count V as to Family First; Counts VI through X as

 to Vongdara; Count XII as to Perez, Grant, and Family First; and Count XIII as to

 Family First and the individual defendants.

                              II.    Factual Allegations

       The following facts are gleaned from the First Amended Complaint.

                            A.      The Scheme Generally

                              1.     Family First’s Role

       Dobronski alleges that Family First is a life insurance distributor that acts as

 an Insurance Marketing Organization (IMO), facilitating a multi-level marketing

 scheme that is well-established in the life insurance industry. (ECF No. 99,

 PageID.1016). He says that IMOs like Family First contract with insurance

 carriers who provide life insurance products that the IMO sells to consumers. (Id.).

 The IMOs employ independent contractors, which Dobronski calls “agents,” to

 market and distribute the insurance carrier’s products to consumers. (Id.). The

 IMO’s role is to facilitate a contract between the insurance carrier(s) and the agents

 so that an agent can market the carrier’s insurance product. (Id.). The IMO

 collects a commission off of any product sold, and then pays a smaller commission

 to the agent who sold the product. (Id.). Agents can also recruit other agents to

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 work beneath them, earning commissions on the “downline” agents’ sales. (Id.).

       As an IMO, Family First sells telemarketing “leads” to its agents. (Id.,

 PageID.1017). Family First markets its leads as potential clients who are seeking

 insurance products and sells them at a premium, saying that they are exclusive and

 newly-generated. (Id.). Family First also provides agents with access to

 automated telephone dialing systems (ATDS) and services that help agents reach

 their leads en masse. (Id.). The ATDS use a random number or sequential number

 generator and have the capacity to call persons at random with no human

 involvement. (Id.).

       Dobronski says that Family First’s utilization of ATDS is illegal under the

 statutes cited above, Family First knows it is illegal, and Family First has been the

 subject of numerous complaints to the Better Business Bureau regarding this illegal

 sales tactic. (Id., PageID.1018). He also says that Family First has been issued a

 cease and desist letter from the Federal Trade Commission due to misrepresenting

 its business opportunity to prospective agents. (Id., PageID.1019).

                   2.     Insurance Companies’ and Agents’ Role

       United, Americo, and Great Western are insurance companies engaged in

 providing insurance products to consumers across the United States, including in

 Michigan. (Id.). These companies carry insurance products and contract with

 Family First to market their products. (Id.).

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          Dobronski says that the insurance companies are aware of Family First’s

 illegal telemarketing and yet use it anyway because it results in a substantial return

 for their products. (Id., PageID.1020). The insurance companies give Family

 First’s agents access to their computer systems and authority to use their

 trademarks and service markets, thereby ratifying the illegal telemarketing by

 accepting the resulting insurance product requests from customers. (Id.).

          Dobronski alleges that the individually named defendants (Vongdara,

 Adams, Grant, Perez, Bonanno, Powell, Igweh, and Wickham) are either

 employees or authorized agents of Family First, and also that they are authorized

 agents of one or more of the insurance companies. He says that defendants YSC,

 and Friedman are authorized agents of one or more of the insurance companies.

 (Id.).

          According to Dobronski, Family First and its agents outsource their calls to

 ATDS. (Id., PageID.1021). The use of ATDS is indicated when the person

 receiving a call experiences a delay, followed by a clicking or “boink” noise, and is

 then greeted by a live telemarketer. (Id.). It can also be indicated by a call

 recipient’s caller ID saying the number is “spoofed” or manipulated to display a

 false number. (Id.). Dobronski says that when someone answers one of these

 calls, he or she is first greeted by a “lead generator,” who may give a false business

 name, refuse to provide identifying information, and become hostile if a potential

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 customer is uninterested in the product. (Id.). He says that calls are deliberately

 made to telephone numbers that, like his, appear on the National Do Not Call

 Registry. (Id.).

       Once a consumer is determined to be qualified by the lead generator, he or

 she is transferred to an agent, who will attempt to close the sale. (Id.,

 PageID.1022). The agents are said to be aware of the call center tactics but

 maintain deliberate indifference to the specifics so they can represent that they are

 unaware of any illegal telemarketing conduct. (Id.). During this part of the call, a

 consumer might be able to ascertain identifying information as to the agent and/or

 the source of the call. (Id.).

       Dobronski alleges that in the twelve months prior to the complaint, he has

 received “well over 500” calls of this nature but was unable to obtain the true

 identity of the seller of the product. (Id.). In order to find out who is calling him,

 Dobronski sometimes provides false but unique identifying information to the

 caller. Then, if a later call ever references that earlier information, Dobronski is

 able to use information from that call to identify the source of the former illegal

 ATDS call. (Id., PageID.1023). He terms this technique a “canary trap.” (Id.).

                                  B.   Specific Phone Calls

       Dobronski describes in detail thirty-four phone calls he received from one or

 more defendants that allegedly violate Michigan and federal law. The calls

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  occurred between July 2021 and February 2023.

        Dobronski traced the first two ATDS calls he received to Bonanno. The first

  call was made on July 30, 2021, by ATDS, which Dobronski could tell because of

  the four to five second delay after he answered before being connected to a live

  telemarketer. (Id., PageID.1023). That telemarketer already knew Dobronski’s

  name and collected additional information from him before transferring him to a

  second telemarketer, neither of whom are named in the complaint. (Id.,

  PageID.1023-1024). The second telemarketer attempted to sell Dobronski a life

  insurance policy issued by United. (Id., PageID.1024). He collected additional

  information from Dobronski before transferring the call to Bonanno, who

  identified herself as “Vanina Martin” with United. (Id.). Dobronski provided her

  with an email address at her request. (Id.). After the call, Dobronski attempted to

  call the number back that had called him, but it was disconnected. (Id.). Later that

  evening, Dobronski received an email from Bonanno that included a pre-filled

  application for life insurance with United. (Id., PageID.1025).

        Four days later, on August 3, 2021, Dobronski received a follow-up call that

  also had a four to five second delay after he picked up. (Id.). The caller identified

  Dobronski by his real name again, and would not identify the company he was

  calling on behalf of. (Id.). He referred to the life insurance policy Dobronski had

  previously purchased, then transferred the call to “Vanina,” presumably Bonanno.

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  (Id.). Bonanno went over Dobronski’s life insurance policy with him, and then

  Dobronski confronted Bonanno about the source of the calls. (Id., PageID.1026).

  Bonanno indicated that a call center was used to call and screen individuals before

  forwarding the calls to her. (Id.).

        Dobronski received another ATDS call on April 11, 2022, similar to the first

  call described above. (Id., PageID.1027). This time, Dobronski gave the caller a

  fake name. (Id.). After providing some information to the caller, Dobronski was

  transferred to a “licensed agent” who gave the name Anna Siago (Siago).4 (Id.).

  Siago said she was an agent with United and asked Dobronski for an email address,

  then provided him with a life insurance policy quote. (Id.). He provided an email

  address, and later that day was sent an insurance application for the fake name he

  provided. (Id., PageID.1028). The application included a certification by

  Vongdara that the terms of the application had been read and explained to

  Dobronski’s alias. (Id.).

        Subsequent similar phone calls are described in the complaint, implicating

  Perez, Powell, Scheifele, Grant, Adams, Wickham, Christle, Drouhard, Family

  First, Americo, Great Western, and United. (Id., PageID.1028-1058). Each of the

  individual defendants are agents who represented one or more of the insurance



  4
   Dobronski does not believe Anna Siago is her real name and indicated that he
  will amend the complaint to add her as a defendant should he later identify her.
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  companies or Family First, and commonalities include life insurance applications

  with an agent or Vongdara’s name on them, and on each occasion, Dobronski

  called the number back and the line was either disconnected or belonged to

  someone other than a life insurance agent. (Id.).

        Dobronski then lists twenty-two additional calls he received from March to

  August 2022, from which he did not obtain identifying information. (Id.,

  PageID.1058-1059). He goes on to describe how, on occasion, he has made

  “confrontation calls” to different agents he was able to reach. One such call

  occurred on August 15, 2022, when Dobronski called Vongdara to confront him

  about the unsolicited calls Dobronski had been receiving from his agents. (Id.,

  PageID.1060). Vongdara confirmed to Dobronski that some of the agents

  Dobronski had spoken to (none named as defendants) were his employees. (Id.).

  Dobronski informed Vongdara that he did not want to receive any more

  telemarketing calls and asked Vongdara for a copy of his written do not call policy.

  (Id.). Vongdara stated that he did not have such a policy. (Id.).

        That same day, Dobronski spoke with Adams and informed her that he was

  receiving repetitive calls, to which she responded that she would tell the call center

  to remove his numbers from further contact. (Id., PageID.1061). The next day,

  Dobronski received a call from Igweh, who told Dobronski that Adams worked for

  him and that he told their call center to stop calling Dobronski. (Id.).

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        The complaint concludes with Dobronski saying that over the past twelve

  months, he has received over 400 calls to his residential and cell phones wherein

  the calling party used a fake or spoofed number, the caller identified themselves as

  being with some benefit-providing entity, and they attempted to pre-qualify

  Dobronski for “final expense” or life insurance. (Id., PageID.1062).

                                     III.   Claims

        Dobronski asserts the following claims against defendants:

        Count I – TCPA: Autodialer calls (47 U.S.C. § 227(b)(1)(A)(iii) and 47
        C.F.R. § 64.1200(a)(1)(iii))

        Count II – TCPA: Recorded message calls (47 U.S.C. § 227(b)(1)(B) and 47
        C.F.R. § 64.1200(a)(3))

        Count III – TCPA: Premature hang up (47 C.F.R. § 64.1200(a)(6))

        Count IV – TCPA: Abandoned call (47 C.F.R. § 64.1200(a)(7))

        Count V – TCPA: Do not call (47 C.F.R. § 64.1200(c)(2))

        Count VI – TCPA: No written do not call policy (47 C.F.R. § 64.1200(d)(1))

        Count VII – TCPA: Failure to train (47 C.F.R. § 64.1200(d)(2))

        Count VIII – TCPA: Failure to record do not call request (47 C.F.R. §
        64.1200(d)(3))

        Count IX – TCPA: Failure to identify (47 C.F.R. § 64.1200(d)(4))

        Count X – No do not call list (47 C.F.R. § 64.1200(d)(6))

        Count XI – TCPA: Falsified caller ID (47 C.F.R. § 64.1601(e)(1))

        Count XII – MTCCCA: Unauthorized calls (M.C.L. § 484.125(2)(a))
                                            10
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        Count XIII – MHSSA: Do not call list and no caller identification (M.C.L. §
        445.111a(5) and M.C.L. § 445.111b(1))

                                 IV.     Pending Motions

        The pending motions are as follows:

           • Family First’s motion to dismiss under Rules 12(b)(1), 12(b)(6),
             and 8(a)(2), or in the alternative, for a more definite statement
             under Rule 12(e), (ECF No. 107);

           • Americo’s motion to dismiss under Rule 12(b)(6), (ECF No.
             103);

           • Great Western’s motion to dismiss under Rule 12(b)(6), (ECF
             No. 105);

           • United’s motion to dismiss under Rules 12(b)(1), 12(b)(6), and
             8(a)(2), or in the alternative, for a more definite statement under
             Rule 12(e), (ECF No. 113);

           • Vongdara, Adams, Grant, Powell, Wickham, Igweh, and
             Bonanno’s motion to dismiss under Rule 12(b)(6), (ECF No.
             106); and

           • Scheifele and Christle’s motion to dismiss under Rule 12(b)(6),
             (ECF No. 143).

                                 V.      Legal Standards

                            A.        Fed. R. Civ. P. 12(b)(1)

        “A motion to dismiss for lack of standing is properly characterized as a

  motion to dismiss for lack of subject-matter jurisdiction under Federal Rule of

  Civil Procedure 12(b)(1).” Fishon v. Mars Petcare US, Inc., 501 F. Supp. 555, 562

  (M.D. Tenn. 2020). “Fed. R. Civ. P. 12(b)(1) provides for the dismissal of an


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  action for lack of subject matter jurisdiction.” Cartwright v. Garner, 751 F.3d.

  752, 759 (6th Cir. 2014). “A Rule 12(b)(1) motion for lack of subject matter

  jurisdiction can challenge the sufficiency of the pleading itself (facial attack) or the

  factual existence of subject matter jurisdiction (factual attack).” Id. A facial

  12(b)(1) attack, like the one here, “questions merely the sufficiency of the

  pleading,” and requires the Court to “take[] the allegations in the complaint as

  true.” Gentek Bldg. Prods., Inc. v. Sherwin-Williams Co., 491 F.3d 320, 330 (6th

  Cir. 2007) (citing Ohio Nat’l Life Ins. Co. v. United States, 922 F.2d 320, 325 (6th

  Cir. 1990)).

                              B.     Fed. R. Civ. P. 12(b)(6)

        When deciding a motion to dismiss under Federal Rule of Civil Procedure

  12(b)(6), the Court must “construe the complaint in the light most favorable to

  plaintiff and accept all allegations as true.” Keys v. Humana, Inc., 684 F.3d 605,

  608 (6th Cir. 2012). “To survive a motion to dismiss, a complaint must contain

  sufficient factual matter, accepted as true, to state a claim to relief that is plausible

  on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (internal quotation marks

  and citation omitted); see also Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555

  (2007) (concluding that a plausible claim need not contain “detailed factual

  allegations,” but it must contain more than “labels and conclusions” or “a

  formulaic recitation of the elements of a cause of action”).

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        Facial plausibility is established “when the plaintiff pleads factual content

  that allows the court to draw the reasonable inference that the defendant is liable

  for the misconduct alleged.” Iqbal, 556 U.S. at 678. “The plausibility of an

  inference depends on a host of considerations, including common sense and the

  strength of competing explanations for the defendant’s conduct.” 16630 Southfield

  Ltd., P’Ship v. Flagstar Bank, F.S.B., 727 F.3d 502, 503 (6th Cir. 2013).

                                     VI.   Analysis

                              A.     Seeking Concurrence

        Before addressing the merits, the undersigned will address Dobronski’s

  assertion that some of the defendants failed to properly seek concurrence as

  required under Eastern District of Michigan Local Rule 7.1(a). He argues that their

  motions should be stricken or denied on this basis.

        There is some authority supporting the argument that motions made without

  certifying that concurrence has been sought must be denied. See United States v.

  Ramesh, No. 02-80756, 2009 WL 817549, at *6 (E.D. Mich. Mar. 26, 2009)

  (“Seeking concurrence from the opponent is a mandatory directive of the Local

  Rules of this District. Inasmuch as [the defendant] has failed to comply with this

  Local Rule prior to filing this motion, the Court must deny the relief that he seeks

  to obtain.”). The Local Rules are called rules,” not “suggestions” or

  “guidelines[.]” Bryce v. Comm’r of Soc. Sec., No. 12-14618, 2013 WL 12123666,

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  at *1 (E.D. Mich. Oct. 8, 2013).

        However, “ ‘district courts in this jurisdiction have routinely waived these

  requirements when it is obvious that the opposing party would not have concurred

  in the requested relief.’ ” Plastic Omnium Auto Inergy Indus. SA de CV v. MCC

  Dev., Inc., No. 21-CV-11141, 2022 WL 883024, at *3 (E.D. Mich. Mar. 24, 2022)

  (quoting In re Kulek, No. 18-11509, 2019 WL 168540, at *4 (E.D. Mich. Jan. 11,

  2019)). It has also been recognized that Local Rule 7.1(a) was “ ‘designed to

  streamline litigation, reduce unnecessary costs, and narrow issues.’ ” Summer v.

  Detroit Pub. Sch. Cmty. Dist., No. 21-12936, 2023 WL 8455031, at *2 (E.D. Mich.

  Dec. 6, 2023) (quoting All About Chores LLC v. Lyon, No. 18-CV-12000, 2019

  WL 2590750, at *1 (E.D. Mich. June 25, 2019)). Denying motions will not serve

  these interests where “[the p]laintiff has not argued [he] would have given the

  requested concurrence or has been prejudiced by [the d]efendants’ failure to follow

  the rule in any way. Id. (citing Jarvis v. Cooper, No. 12-CV-11804, 2013 WL

  1289272, at *9 (E.D. Mich. Mar. 28, 2013)); Tuttle v. Land, No. 10-11221, 2010

  WL 2232210, at *4 (E.D. Mich. May 27, 2010)). As explained in Summer, “[t]he

  court seeks, to the furthest extent possible, to decide [d]efendants’ motions on the

  merits, rather than denying them based on a technicality.” Therefore, the

  undersigned does not recommend that any motions be struck or denied based on a

  violation of Local Rule 7.1(a).

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                                      B.     Standing

                                       1.    General

        Article III standing arises from the U.S. Constitution’s “case or controversy”

  requirement. Warth v. Seldin, 422 U.S. 490, 498 (1975). To establish standing, a

  plaintiff must establish (1) actual or imminent injury in fact that is concrete and

  particularized; (2) a causal connection that establishes the plaintiff’s injury is fairly

  traceable to the defendant’s alleged conduct; and (3) that a favorable decision by

  the court is likely to redress the plaintiff’s injury. Dep’t of Educ. v. Brown, 600

  U.S. 551, 561 (2023) (citing Lujan v. Defs. of Wildlife, 504 U.S. 555, 560-1

  (1992)). The plaintiff must “ ‘demonstrate standing separately for each form of

  relief sought” and “for each claim he seeks to press.’ ” DaimlerChrysler Corp. v.

  Cuno, 547 U.S. 332, 352 (2006) (quoting Friends of Earth, Inc. v. Laidlaw Env’t.

  Servs., Inc., 528 U.S. 167, 185 (2000)). “Article III standing requires a concrete

  injury even in the context of a statutory violation.” Spokeo, Inc. v. Robins, 578

  U.S. 330, 341 (2016), as revised May 24, 2016.

                                     2.     Discussion

        Family First, United, Americo, and the individual defendants argue that

  Dobronski did not suffer an actual injury from any of the calls alleged in the

  complaint. They say that the calls were a de minimis interference in his daily life,

  and that his willingness to engage in conversation during the calls, provide fake

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  information to the callers, and give consent for subsequent calls renders him

  without standing. Dobronski admits that he is a seasoned plaintiff with

  sophisticated telephone answering and recording equipment. Despite this, he says

  that he has properly pled that the calls interrupt his daily life, that his phone

  numbers are listed on the National Do Not Call Registry because he does not wish

  to receive such calls, and that seasoned plaintiffs have just as much standing as

  those who are less prepared to receive such calls and trace them to their likely

  sources. He likens his equipment to having a security system at one’s home. He

  asserts that a homeowner does not invite burglars by having such a system, as the

  system is intended to prevent burglary and assist in catching the perpetrators.

         As the Supreme Court recently explained in TransUnion LLC v. Ramirez,

  594 U.S. 413, 426 (2021), “Congress’s creation of a statutory prohibition or

  obligation and a cause of action does not relieve courts of their responsibility to

  independently decide whether a plaintiff has suffered a concrete harm under

  Article III[.]”

         Defendants cite three cases outside of the Sixth Circuit in support of their

  contention that Dobronski is not within the “zone of interest” of the TCPA and/or

  has not suffered a concrete harm. All three are distinguishable.

         In Leyse v. Bank of Am., Nat’l Ass’n, No. CV117128SDWSCM, 2020 WL

  1227410, at *4 (D.N.J. Mar. 13, 2020), aff’d, 856 F. App’x 408 (3d Cir. 2021), the

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  district court found that a TCPA plaintiff did not assert that he suffered “nuisance,

  annoyance, inconvenience, wasted time, invasion of privacy, or any other such

  injury” and in fact “welcomed such calls in his role as a paid investigator aiding his

  counsel in the preparation of TCPA lawsuits.” Thus, the district court held that the

  plaintiff did not have standing to sue the defendant for placing such calls. Id.

  Defendants argue that the same is true of Dobronski here.

        Other courts, however, have found Leyse distinguishable and unpersuasive

  where plaintiffs have alleged injury due to the violating phone calls, see Laccinole

  v. U.S. Veterans Assistance Found., Inc., No. CV 21-160 WES, 2021 WL

  3213005, at *1 (D.R.I. July 29, 2021) (citing Gibbs v. SolarCity Corp., 239 F.

  Supp. 3d 391, 395-96 (D. Mass. 2017); Ready v. Synchrony Bank, No. 2:17-CV-

  00434-JDL, 2018 WL 1701355, at *4 (D. Me. Apr. 6, 2018)), or where the plaintiff

  alleges that they were not compensated for his time on such calls as a paid

  investigator, see Hirsch v. USHealth Advisors, LLC, 337 F.R.D. 118, 126-27 (N.D.

  Tex. 2020) (“[H]ere, Hirsch was not compensated for his time on the calls, never

  called Defendants or their Agents back, and asked to be placed on both the

  [National Do Not Call] and [Internal Do Not Call] lists. And even if Hirsch may

  justifiably be called a ‘professional TCPA plaintiff,’ this designation does not strip

  away his Article III standing.” (quoting Cunningham v. Rapid Resp. Monitoring

  Servs., Inc., 251 F. Supp. 3d 1187, 1194-96 (M.D. Tenn. 2017))).

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        Defendants also cite Stoops v. Wells Fargo Bank, N.A., 197 F. Supp. 3d 782,

  799 (W.D. Pa. 2016), where the plaintiff, who owned over thirty-five cell phones

  for the purpose of receiving unsolicited calls and pursuing TCPA claims as a

  business, was found to lack standing. The court reasoned that “[b]ecause [the

  p]laintiff has admitted that her only purpose in purchasing her cell phones and

  minutes is to receive more calls, thus enabling her to file TCPA lawsuits, she has

  not suffered an economic injury.” Id. at 802 (citing Leyse v. Bank of Am. Nat.

  Ass'n, 804 F.3d 316, 323 (3d Cir. 2015)).

        Again, contrary to Stoops, other courts have found that similar facts do not

  defeat a plaintiff’s standing. See, e.g., Fitzhenry v. ADT Corp., No. 14-80180,

  2014 WL 6663379, at *5 (S.D. Fla. Nov. 3, 2014) (where the plaintiff pursued

  TCPA claims to bring in more income and had several different home phone

  numbers to receive a higher volume of telemarketing calls); Jawk Enters. v.

  Greenlight Energy, Inc., No. 19-CV-4212-ARR-SJB, 2019 WL 5881752, at *2

  (E.D.N.Y. Nov. 5, 2019) (where the plaintiff had filed multiple TCPA lawsuits,

  had a profit motive in doing so, and was a “professional” litigant).

        Notably, at least one district court in this Circuit, Cunningham, supra, has

  strongly disagreed with the notion that a sophisticated plaintiff, motivated by

  statutory compensation, would lack standing for those reasons. As the district

  court explained:

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        Nothing in the Constitution, though, requires a plaintiff to be a naïf.
        Litigation is not college athletics: there is no “amateurs only” rule. See
        Murray v. GMAC Mortg. Corp., 434 F.3d 948, 954 (7th Cir. 2006)
        (“What the district judge did not explain, though, is why ‘professional
        [plaintiff]’ is a dirty word. It implies experience, if not expertise. The
        district judge did not cite a single decision supporting the proposition
        that someone whose rights have been violated by 50 different persons
        may sue only a subset of the offenders.”). Nor is there anything out of
        the ordinary or constitutionally suspect about a plaintiff’s being
        motivated by the prospect of reaping a reward rather than simply
        vindicating or receiving restitution for his constitutionally sufficient
        injury. The statutory damages available under the TCPA are, in fact,
        specifically designed to appeal to plaintiffs’ self-interest and to direct
        that self-interest toward the public good: “like statutory compensation
        for whistleblowers,” they “operate as bounties, increasing the
        incentives for private enforcement of law.” Arnold Chapman & Paldo
        Sign & Display Co. v. Wagener Equities Inc., 747 F.3d 489, 492 (7th
        Cir. 2014). Designing a cause of action with the purpose of enlisting
        the public in a law’s enforcement scheme is a well-established tool that
        can be found in areas ranging from antitrust and civil rights law to
        environmental law and false claims. While these schemes do not
        eliminate the constitutional requirement of an injury-in-fact, neither do
        they impose an additional hurdle simply because the plaintiff may have
        a motive beyond mere compensation for his injury.

  Cunningham, 251 F. Supp. 3d at 1195-96 (footnotes omitted). The undersigned

  agrees with the rationale in Cunningham that it would make little sense for a

  plaintiff’s statutory incentives to cut against his standing if he has, in fact, suffered

  the injury contemplated by the statute.

        Defendants also cite Tel. Sci. Corp. v. Asset Recovery Sols., LLC, No. 15-

  CV-5182, 2016 WL 4179150 (N.D. Ill. Aug. 8, 2016), in which a company

  offering a service to screen customers’ robocalls did not have standing to sue under

  the TCPA. However, this case is readily distinguishable, because Dobronski is not
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  operating a business to screen anyone else’s calls.

        Moreover, “the vast majority of post-Spokeo [Inc. v. Robins, 578 U.S. 330

  (2016)] TCPA cases have concluded that the invasion of privacy, annoyance and

  wasted time associated with robocalls is sufficient to demonstrate concrete injury.”

  Gorss Motels, Inc. v. AT&T Mobility, LLC, 490 F. Supp. 3d 476, 485 (D. Conn.

  2020) (quoting Sandusky Wellness Center, LLC v. MedTox Sci. Inc., 250 F. Supp.

  3d 354, 357 (D. Minn. 2017) (internal quotation marks omitted) (collecting cases)).

        Further, although the Supreme Court made clear in TransUnion that a

  plaintiff must show an injury-in-fact independent of a statutory cause of action, the

  Sixth Circuit has recently found that a plaintiff’s “receipt of an unsolicited

  [ringless voicemail message] bears a close relationship to the kind of injury

  protected by the common law tort of intrusion upon seclusion” and therefore

  constitutes an injury-in-fact, as well as a statutory injury under the TCPA. Dickson

  v. Direct Energy, LP, 69 F.4th 338, 349 (6th Cir. 2023). District courts in the Sixth

  Circuit also agree that, even after TransUnion, plaintiffs have suffered injury and

  have standing under the TCPA for unsolicited communications prohibited by that

  Act. See Chapman v. Nat’l Health Plans & Benefits Agency, LLC, 619 F. Supp. 3d

  788, 795 (E.D. Mich. 2022) (involving four unsolicited telephone calls); Sowders

  v. Scratch Fin., Inc., No. 3:23-CV-56, 2023 WL 7525900, at *6 (S.D. Ohio Nov.

  14, 2023) (involving one unsolicited fax advertisement).

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        Here, Dobronski has alleged that defendants’ unsolicited phone calls have

  caused him several injuries, including occupying his phone lines, nuisance and

  annoyance, and impairment of the usefulness of his phones. (ECF No. 99,

  PageID.1015). He also alleges the injury of a trespass to his chattel, namely his

  telephone line and services. (Id.). The undersigned finds that at this stage—on

  motions to dismiss rather than ones for summary judgment like those in question in

  Leyse and Stoops—Dobronski has alleged an injury-in-fact sufficient to satisfy his

  standing requirements. However, this only applies to the truly unsolicited or

  “cold” calls he received, which are calls 1, 3, 4, 7, 8, 13, 15, 16, 18, 24, 29, 30, 31,

  and 33.

        The remaining calls, however—2, 5, 6, 9, 10, 11, 12, 14, 17, 19, 20, 21, 22,

  23, 25, 26, 27, 28, 32, and 34-56—were follow-ups resulting from Dobronski’s

  feigned interest in the insurance products being sold, and thus did not cause injury

  and lack standing. See Dobronski v. Total Ins. Brokers, LLC, No. 21-10035, 2021

  WL 4452218, at *4 (E.D. Mich. Sept. 29, 2021) (concluding that the plaintiff

  (Dobronski) gave “implied consent” to calls when he “engaged in conduct [that

  was] designed to encourage” additional calls). As to these calls, Dobronski’s

  implied consent renders him without standing to pursue claims.

        Dobronski argues that the TCPA requires “express consent” in order for a

  call to be allowed under the statute. See In the Matter of Rules & Reguls.

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  Implementing the Tel. Consumer Prot. Act of 1991, 30 F.C.C. Rcd. 7961 (2015)

  (“The TCPA and the Commission’s rules plainly require express consent, not

  implied or ‘presumed’ consent.” (emphasis in original)). This, however, does not

  affect whether Dobronski has separate non-statutory standing to pursue his claims.

  For the phone calls that Dobronski encouraged by offering fake identifying

  information and feigning interest in the product being sold, he cannot claim an

  injury-in-fact.

        Furthermore, Dobronski ignores another exception to the TCPA’s

  guidelines: that a “telephone solicitation” does not include a call “to any person

  with whom the caller has an established business relationship.” 47 U.S.C. §

  227(a)(4); 47 C.F.R. § 64.1200(f)(14)(ii). Courts have found that an established

  business relationship exists where a call recipient feigns interest in a product in

  order to identify a caller. See Charvat v. Southard Corp., No. 2:18-CV-190, 2019

  WL 13128407, at *4 (S.D. Ohio Sept. 30, 2019) (“It may be true that Plaintiff has

  trouble discerning the identity of telemarketers in order to bring lawsuits against

  them unless he feigns interest in their services, but this does not make an otherwise

  voluntary conversation involuntary.”); Hamilton v. Spurling, No. 3:11CV00102,

  2013 WL 1164336, at *10 (S.D. Ohio Mar. 20, 2013) (“Setting up the appointment

  constitutes an ‘inquiry’ or ‘application’ regarding chiropractic services offered at

  Chiropractic Therapy West. Thereafter, . . . [the plaintiff’s] second, third, and

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  fourth calls following up regarding the missed appointment do not meet the

  definition of a ‘telephone solicitation’ under the TCPA Regulations.”); Morris v.

  Copart, No. 4:15-CV-724, 2016 WL 6608874, at *9 (E.D. Tex. Nov. 9, 2016)

  (stating that “the p]laintiff’s false affirmation that he had a vehicle to donate

  established a business relationship, excusing subsequent calls made in furtherance

  of that business relationship and for the stated purpose of that relationship—to

  effectuate [the p]laintiff’s donation of a car.”). Thus, Dobronski has failed to

  allege statutory standing regarding any follow-up calls, namely, those in which the

  caller was given reason to believe that Dobronski or one of his alter egos was

  interested in the purchase of an insurance product.

        Thus, calls 1, 3, 4, 7, 8, 13, 15, 16, 18, 24, 29, 30, 31, and 33 survive

  dismissal for lack of standing. Calls 2, 5, 6, 9, 10, 11, 12, 14, 17, 19, 20, 21, 22,

  23, 25, 26, 27, 28, 32, and 34-56 do not.

                                C.     Vicarious Liability

        Dobronski admits that no defendant is directly liable for the offending calls,

  as he received these calls from unidentified overseas telemarketers that then

  transferred the calls to agents within the United States. He argues that defendants

  are nonetheless vicariously liable for the calls under traditional agency theories.

  Defendants argue that they do not exert control over the callers to the extent that

  they can be held liable for the callers’ actions.

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                                     1.     Standard

        The Sixth Circuit has summarized liability under the TCPA as follows:

        The TCPA prohibits a person from: (1) initiating any telephone call to
        any residential telephone line using an artificial or prerecorded voice to
        deliver a message without the prior express consent of the called party;
        or (2) making live calls to residential telephone numbers that have been
        placed on the national do-not-call registry. . . .

        In [In re Dish Network, 28 F.C.C. Rcd. 6574 (2013)], the FCC clarified
        that a “telemarketer” is “the person or entity that initiates a
        [telemarketing] call,” i.e., “takes the steps necessary to physically place
        a telephone call, and generally does not include persons or entities . . .
        that might merely have some role, however minor, in the causal chain
        that results in the making of a telephone call.” 28 FCC Rcd. at 6583, ¶
        26, 27.; see also IMHOFF [Inv., LLC v. Alfoccino, Inc., 792 F.3d 627,
        635 (6th Cir. 2015)]. However, the FCC concluded that inclusion of
        the phrase “on behalf of” in § 227(c)(5), which creates a private right
        of action to challenge multiple live calls, allowed for a “seller” to be
        held vicariously liable under traditional agency tenets, including “not
        only formal agency, but also principles of apparent authority and
        ratification.” Dish Network, 28 FCC Rcd. at 6584, ¶ 28.

  Lucas v. Telemarketer Calling from (407) 476-5680, No. 18-3633, 2019 WL

  3021233, at *5 (6th Cir. May 29, 2019).

                                   2.     Family First

        Family First admits that vicarious liability exists under the TCPA following

  federal common law agency principles for a violation by a third-party telemarketer

  but argues that Dobronski has failed to allege it here. (ECF No. 107, PageID.1192-

  1193 (citing Dobronski v. NPS, Inc., No. 356617, 2022 WL 1194212, at *4 (Mich.




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  Ct. App. Apr. 21, 2022) (unpublished), 5 appeal dismissed, 985 N.W.2d 832 (Mich.

  2023))). In Dobronski v. NPS, the Michigan Court of Appeals found that

  Dobronski failed to show an agency relationship between NPS, a seller of vehicle-

  service contracts that allegedly made TCPA-violating calls, and Omega Auto Care

  (Omega) on whose behalf the contracts were sold. There, Dobronski failed to

  show that NPS had actual or apparent authority to use illegal telemarketing calls to

  sell Omega’s product, and that Omega did not ratify the actions of NPS in that

  regard. Family First argues that under these principles, Dobronski has similarly

  failed to establish Family First’s liability for the calls from overseas telemarketers.

        Family First further argues that awareness, or even knowingly assisting

  telemarketers, does not establish vicarious liability under the TCPA. (Id.,

  PageID.1194 (citing Gen. Ret. Sys. Of Detroit v. Alamerica Bank, 14- cv-10032,

  2015 WL 7756153, at *2 (E.D. Mich. Dec. 2, 2015); Lucas, 2019 WL 3021233, at

  *5-6). Family First’s argument ignores vital allegations from the First Amended

  Complaint and, as such, misses the mark.

        As summarized above, Dobronski alleges that Family First knowingly

  provides agents with access to ATDS which use a random number or sequential

  number generator and have the capacity to call persons at random with no human



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   Michigan Court Rule 7.215(C)(1) explains that “[a]n unpublished opinion is not
  precedentially binding under the rule of stare decisis.”
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  involvement. (ECF No. 99, PageID.1016-1017). Family First promotes the illegal

  telemarketing scheme alleged as an essential tool for selling the insurance

  companies’ products and is aware that its practices are illegal and tortious. (Id.,

  PageID.1018). Family First also knows that its leads, generated by random

  dialing, did not give express consent to be dialed, and that the practice results in

  the same consumers being contacted by multiple agents to be sold duplicative

  insurance products. (Id., PageID.1019).

        Dobronski expands on Family First’s role in his response, alleging that it

  trains its agents on telemarketing. (ECF No. 128, PageID.1924). He attaches

  exhibits showing insurance applications that list “Family First Life” as the agency

  and showing a list of available Family First training videos. (Id., PageID.1945-

  1960). Although the undersigned cannot consider new allegations or exhibit

  evidence at this stage, the exhibits essentially show facts that Dobronski has pled

  in the First Amended Complaint. See ECF No. 99.

        In Lucas, supra, the plaintiff’s vicarious liability claims failed because he

  “did not allege facts indicating that the telemarketers were acting ‘on behalf of’ the

  defendants or that they were subject to their control.” 2019 WL 3021233, at *6.

  Here, unlike in Lucas, Dobronski has alleged that multiple telemarketers identified

  themselves as affiliated with Family First, and that Family First was listed as the

  agency on insurance applications sent to Dobronski. These allegations are similar

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  to those made in Dobronski v. SunPath Ltd., No. 19-13094, 2020 WL 8840311, at

  *4 (E.D. Mich. July 27, 2020), in which the district court found that the allegation

  that the caller was “affiliated with [defendant]” “provide[d] support for Plaintiff’s

  effort to hold [the defendant] responsible for the phone calls giving rise to his

  claims in this case, whether as the direct initiator of these calls or, perhaps, under a

  theory of vicarious liability.” Although the decision in SunPath involved a

  jurisdictional argument, the finding as to allegations of direct or vicarious liability

  was necessary to the district court’s determination that there was jurisdiction over

  the defendant corporation. Id.

        Other courts have also found that vicarious liability was supported by similar

  facts. See, e.g., Krakauer v. Dish Network, L.L.C., 925 F.3d 643, 662 (4th Cir.

  2019) (where one defendant authorized another to use its name and logo in

  carrying out its operation, took no meaningful action to ensure TCPA compliance,

  and profited from the other defendant’s actions); Hossfeld v. Gov’t Emps. Ins. Co.,

  88 F. Supp. 3d 504, 510 (D. Md. 2015) (defendant company was liable for the

  actions of third-party telemarketers where it contracted with them, created scripts

  for them, knew they were using ATDS, and had them make calls with ATDS

  before forwarding the calls to its representatives).

        In reply, Family First says that it “is merely a platform to connect

  Independent Insurance Agents with carriers” and that based on this, “there is

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  simply no basis for vicarious liability.” (ECF No. 148, PageID.2119). This may

  be true, but it runs contrary to the full set of allegations in Dobronski’s First

  Amended Complaint, summarized above. Dobronski has alleged facts that support

  a theory of vicarious liability as to Family First for the telemarketing calls that

  allegedly violated the TCPA and Michigan statutes. Because the allegations are

  taken as true at this stage of litigation, the claims against Family First should not

  be dismissed for failure to allege vicarious liability.

                                 3.     Individual Agents

        Dobronski also alleges that the individual agents named in the First

  Amended Complaint—Vongdara, Perez, Powell, Grant, Adams, Wickham,

  Bonanno, Igweh, Scheifele, Christle, Drouhard, and Friedman—are vicariously

  liable for the initial calls placed by overseas telemarketers in violation of the TCPA

  and Michigan statutes. 6

        The agents argue that under Lucas, discussed above, “knowingly assisting

  telemarketers in the making of illegal telemarketing calls” does not suffice to

  establish vicarious liability. 2019 WL 3021233, at *5. They also cite Childress v.

  Liberty Mut. Ins. Co., No. 17-CV-1051 MV/KBM, 2018 WL 4684209, at *4


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    As noted above, Friedman is proceeding pro se and has not filed a motion,
  Drouhard does not appear to have been served, and Perez appears to have been
  served but has not answered or otherwise responded to the complaint. The other
  individual agents have filed motions to dismiss, (ECF Nos. 106, 143), and the
  analysis herein applies only to them.
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  (D.N.M. Sept. 28, 2018), in which the court found that the transfer of a tortious call

  to the defendant, alone, “[did] not establish that Defendant exerted control over the

  initiator of the call, supervised or controlled the initial call, or maintained any sort

  of relationship with the initiator of the call” in order to establish an agency

  relationship.

        As discussed above, Dobronski’s allegations go beyond those by the plaintiff

  in Lucas and, as to Family First, properly alleged vicarious liability. The same is

  true for the individual agents moving for dismissal. On multiple occasions,

  Dobronski alleges that he asked named defendants about the source of the

  originating call. (ECF No. 99, PageID.1026, ¶ 121; 1029, ¶ 143; 1032, ¶ 162;

  1035, ¶ 180; 1038, ¶ 204; 1051, ¶ 296; 1057, ¶ 341; 1058, ¶¶ 344-5; 1060, ¶ 351;

  PageID.1061, ¶ 353-4). Bonanno informed him that the calls were from “their call

  center”; Perez told him that the call originator was “our lead generation

  specialist[,]” and on subsequent calls that the originator “works for her

  company[,]” and that she “utilize[d] third-party telemarketers located in Asia”;

  Grant told him that the call originator “works for [his] transfer company”; Christle

  stated that the callers work in one of his company’s call centers; Drouhard said that

  her company, Family First, “uses call centers outside the USA”; Vongdara said

  that three of the initiating callers Dobronski inquired about were his employees;

  Adams admitted to the use of a call center to originate calls; and Igweh did so as

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  well, stating that Adams was his employee. (Id.).

        As stated above, these allegations go well beyond those in Lucas and

  adequately state an agency relationship between the individual agents and the

  callers initiating the offending calls. The same is true of Childress, which was

  distinguished by a later case from the same district in which the plaintiff pled

  further facts establishing an agency relationship between the caller and the

  company the call was transferred to. See Mestas v. CHW Grp. Inc., 508 F. Supp.

  3d 1011, 1025 (D.N.M. 2020) (finding an agency relationship where the plaintiff

  alleged that Jane Doe callers were connected to named defendant who authorized

  the telemarketing calls to the plaintiff, directly or indirectly controlled the call

  initiators, and approved, wrote, or reviewed the telemarketers’ scripts). Even as to

  the agents not directly referred to above, they are all connected to the originating

  and allegedly tortious calls placed by overseas telemarketers, either through the

  transfer of calls to them, through return calls to Dobronski from them, or by

  sending Dobronski insurance applications (which he connects to offending calls

  through their use of his aliases on those calls). It is clear, if Dobronski’s

  allegations are true, that the named individuals have directed offending calls to be

  made to Dobronski and transferred to them to sell insurance products. The agents

  cannot escape liability at this stage based on the allegations as pled.

                               4.     Insurance Companies

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        As for the insurance companies—United, Americo, and Great Western—

  Dobronski’s allegations fall short of establishing vicarious liability.

        Dobronski alleges that the companies are “well aware” that Family First and

  its agents engage in illegal telemarketing to sell their products. (ECF No. 99,

  PageID.1020). He further alleges that they support these activities by “giving the

  agents access to their respective computer systems for purposes of pricing data and

  entering prospective insureds’ application information, as well as the authority to

  use the company’s trademark and service market[.]” (Id.). This, he says,

  establishes actual authority and ratification. (Id.). He also alleges having received

  several insurance applications after feigning interest in the products, and that each

  company was listed as the insurance provider on at least one application. See

  generally ECF No. 99.

        The insurance companies are correct that there is no indication they directed

  or acquiesced in the conduct of having offending calls placed by overseas

  telemarketers and then transferred to their agents. Simply knowing about, as

  Dobronski has alleged, it is not enough. See Lucas.

        An agent acts with actual authority “when, at the time of taking action that

  has legal consequences for the principal, the agent reasonably believes, in

  accordance with the principal’s manifestations to the agent, that the principal

  wishes the agent so to act.” 1 Restatement Agency, 3d, § 2.01. Dobronski has not

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  adequately pled actual authority as to the insurance companies. Though the agents

  allegedly had actual authority to prequalify consumers for insurance products, as

  shown by the “access to their respective computer systems for purposes of pricing

  data and entering prospective insureds’ application information” and “authority to

  use the company’s trademark and service market,” (ECF No. 99, PageID.1020),

  this does not extend to the tactics used to sell the products to consumers. Unlike

  Family First, the insurance companies are not alleged to provide agents with

  telemarketing resources, scripts, or ATDS, or in any other way authorized

  telemarketing practices that violate the TCPA and Michigan statutes.

        As for apparent authority, there is no indication that the principal (here, the

  insurance companies) held out to Dobronski that the agents had authority to

  commit the tortious acts he alleges. See Keating v. Peterson’s Nelnet, LLC, 615 F.

  App’x 365, 374 (6th Cir. 2015). Therefore, they are not liable under this theory.

        Lastly, “[r]atification is the affirmance of a prior act done by another,

  whereby the act is given effect as if done by an agent acting with actual authority.”

  1 Restatement Agency, 3d, § 4.01(1). A principal can ratify an act by “(a)

  manifesting assent that the act shall affect the person's legal relations, or (b)

  conduct that justifies a reasonable assumption that the person so consents.” 1

  Restatement Agency, 3d, § 4.01(2). Here, the acts were not ratified because

  Dobronski has not alleged that the insurance companies manifested assent or that

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  they consented to the calls. The insurance applications were sent to Dobronski by

  the agents, not the insurance companies, and though they purported to be offers of

  sale, the insurance companies are not alleged to have accepted any application

  from Dobronski or his aliases.

                                      5.     In Sum

        Dobronski has sufficiently alleged vicarious liability for his claims as to

  Family First and the individual agents that have moved for dismissal. He has not

  sufficiently alleged vicarious, or direct, liability as to the insurance companies,

  United, Americo, and Great Western. Therefore, United, Americo, and Great

  Western should be dismissed. As to the other defendants, Dobronski only has

  standing to pursue claims based on calls 1, 3, 4, 7, 8, 13, 15, 16, 18, 24, 29, 30, 31,

  and 33. See ECF No. 99, PageID.1023-1057. The other calls were part of an

  established business relationship and did not cause injury-in-fact.

        The undersigned will now consider the separate counts of Dobronski’s First

  Amended Complaint, as the remaining defendants argue that he has failed to state a

  cause of action as to each.

                                 D.     Causes of Action

                            1.     Count I – Autodialer Calls

        Dobronski alleges that defendants violated 47 U.S.C. § 227(b)(1)(A)(iii) and

  47 C.F.R. § 64.1200(a)(1)(iii) by initiating calls using ATDS, which dialed random

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  or sequential numbers without prior consent of the called party. (ECF No. 99,

  PageID.1062-1063).

        47 C.F.R. § 64.1200(a)(1)(iii) states that a caller may not use ATDS, unless

  for emergency purposes or with prior express consent, to initiate a call to a cellular

  telephone service or any service for which the party is charged for the call. A

  plaintiff is required to make “ ‘some additional factual allegations, no matter how

  minor, in addition to parroting the language of the statute,’ to sufficiently allege

  that [a d]efendant utilized a prerecorded or artificial voice or used an ATDS

  system.” Katz v. CrossCountry Mortg., LLC, No. 1:22-CV-00925, 2022 WL

  16950481, at *3 (N.D. Ohio Nov. 15, 2022) (quoting Reo v. Caribbean Cruise

  Line, Inc., No. 1:14 CV 1374, 2016 WL 1109042, at *4 (N.D. Ohio Mar. 18,

  2016)). “ ‘It is not unreasonable [ ] to require a plaintiff to describe the phone

  messages he received in laymen’s terms or provide the circumstances surrounding

  them to establish his belief that the messages were pre-recorded or delivered via

  the ATDS.’ ” Id. at *3 (quoting Johansen v. Vivant, Inc., No. 12 C 7159, 2012 WL

  6590551, at *3 (N.D. Ill. Dec. 18, 2012)).

        The Supreme Court decided in Facebook, Inc. v. Duguid, 592 U.S. 395

  (2021) that in all cases, ATDS must be alleged to have the capacity to use a

  random or sequential number generator to either store or produce numbers to be

  called. Otherwise, the claims require dismissal. See Barry v. Ally Fin., Inc., No.

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  20-12378, 2021 WL 2936636, at *3 (E.D. Mich. July 13, 2021). In Barry, the

  district court found that a plaintiff who does not allege the capacity of a

  defendant’s system to dial numbers randomly or sequentially fails to state a TCPA

  claim. Other courts have found that mere conclusory allegations of random or

  sequential number generators also fail to state a claim. See ACA Int’l v. Fed.

  Commc’ns Comm’n, 885 F.3d 687, 702 (D.C. Cir. 2018) (differentiating ATDS

  from a calling list, which is allowed under the TCPA), Mosley v. Gen. Revenue

  Corp., No. 20-cv-01012-JES-JEH, 2020 WL 4060767, at *4 (C.D. Ill. July 20,

  2020) (finding that a mere allegation of ATDS was not enough).

        However, where the complaint “does not merely parrot, in a conclusory

  fashion, the statutory language as to the definition of an ATDS” but instead

  “includes several factual allegations as to the facts and circumstances surrounding

  the calls and texts that make it plausible that an ATDS was used[,]” courts have

  found that use of ATDS was plausibly alleged. Lopez v. Quicken Loans, Inc., 461

  F. Supp. 3d 638, 645 (E.D. Mich. 2020). In Lopez, allegations that the calls were

  made by SMS shortcode, were of a generic and non-personal nature, and followed

  a pattern that included a long pause followed by a clicking sound, plausibly

  indicated that ATDS was used in violation of the TCPA.

        Similarly, Dobronski has alleged multiple indicia of the calls that make his

  allegation of ATDS plausible. Dobronski states that the calls he received had

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  “multi-second delays and/or a ‘boink’ or clicking sound . . . before a live

  telemarketer comes on the line,” that some calls were “simply dead air,” and that

  “the caller identification number display[ed] [was] ‘spoofed’ or manipulated to

  display a false telephone number.” (Id., PageID.1021). These factors were

  allegedly present for almost every phone call that he received in the First Amended

  Complaint.

        Based on these allegations, Dobronski has stated a claim for improper use of

  an ATDS and Count I should survive dismissal.

                       2.     Count II – Recorded Message Calls

        Under this Count, Dobronski alleges that calls 3 and 13 were in violation of

  the TCPA and its implementing regulations, specifically 47 U.S.C. § 227(b)(1)(B)

  and 47 C.F.R. § 64.1200(a)(3). For these calls, Dobronski allegedly received a

  recorded message upon answering.

        Under 47 C.F.R. § 64.1200(a)(3), a caller may not initiate any telephone call

  to a residential line “using an artificial or prerecorded voice to deliver a message

  that includes or introduces an advertisement or constitutes telemarketing without

  the prior express written consent of the called party[.]” Exceptions are made for

  calls for emergency purposes and some types calls that do not exceed a certain

  number within specified timeframes. Id.

        For call 3, Dobronski alleges that he received a call that began with a

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  recorded voice message asking him to respond with his age. (Id., PageID.1026).

  After he did so, he was connected to a live telemarketer and identified himself as

  Arthur Heaton. (Id.). He later received a call (call 6) from Perez, who identified

  herself as an agent with Family First and asked to speak with Arthur Heaton. (Id.,

  PageID.1030). Call 13 was allegedly a call that began with a recorded message as

  well. (Id., PageID.1037). This call was eventually transferred to Grant with

  Family First, who attempted to sell Dobronski a life insurance policy. (Id.,

  PageID.1038).

        These allegations state a claim for violating the TCPA prohibition against

  the use of a prerecorded voice message for telemarketing purposes. The calls are

  plausibly connected to Perez, Grant, and Family First, who as discussed above,

  may be vicariously liable for the calls. Therefore, Count II should not be

  dismissed as to them, but should be dismissed as to the other moving defendants.

                         3.    Count III – Premature Hang Up

        Dobronski alleges that defendants violated 47 C.F.R. § 64.1200(a)(6), which

  prohibits “[d]isconnect[ing] an unanswered telemarketing call prior to at least 15

  seconds or four (4) rings.” Dobronski says that this claim applies to calls 17 and

  53-56.

        Call 17 refers to a call that Dobronski received while he was engaged in call

  16. Dobronski says that the caller did not allow the telephone to ring more than

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  three times, and thus his voicemail was unable to answer and take a message. (Id.,

  PageID.1040-1041). Calls 53-56 were made in August of 2022 and were all

  missed by Dobronski. (Id., PageID.1059).

        For each of these calls, it is plausibly alleged that the caller violated this

  provision of the TCPA implementing regulations by failing to allow Dobronski’s

  phone to ring more than three times. However, Dobronski does not allege who

  placed these calls and could not plausibly do so, because he gathered no

  information about the callers. Thus, the calls in question cannot be connected to

  any of the defendants. The undersigned therefore recommends that Count III be

  dismissed.

                           4.     Count IV – Abandoned Calls

        Dobronski alleges that a number of calls violated 47 C.F.R. § 64.1200(a)(7)

  by failing to connect him to “a live sales representative within two (2) seconds of

  the called person’s completed greeting.” 47 C.F.R. § 64.1200(a)(7). The

  regulation states that a caller may not abandon “more than three percent of all

  telemarketing calls that are answered live by a person, as measured over a 30-day

  period for a single calling campaign.” Id.

        Dobronski does not state a claim under this provision. Previous courts have

  found that “[t]o state a violation of this provision, [the plaintiff] must plausibly

  allege that no more than three percent of live telemarketing calls were

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  ‘abandoned,’ which means that the call was not connected to a live sales

  representative within two seconds of the called person’s greeting.” Dahdah v.

  Rocket Mortg., LLC, No. 22-11863, 2023 WL 5941730, at *5 (E.D. Mich. Sept. 12,

  2023). The court in Dahdah reasoned that “this provision requires information

  about the abandonment rate, which [the plaintiff’s] complaint fails to mention[,]”

  and dismissed his claim.

        Dobronski argues that the subsections of § 64.1200(a)(7) create an additional

  cause of action and asserts liability based on (a)(7)(i)(A), which requires an

  abandoned call to contain a “prerecorded identification and opt-out message,” and

  (a)(7)(i)(B), which requires an “automated, interactive voice- and/or key press-

  activated opt-out mechanism[.]” (ECF No. 120, PageID.1786-1787).

        These subsections do not create causes of action. As clarified in Leyse,

  supra, subsections (i)(A) and (i)(B) “create[] an exception for abandoned call

  messages that provide a number for call recipients to call and make a do-not-call

  request.” 2020 WL 1227410, at *7 (emphasis added). Thus, defendants could

  state a defense for making abandoned calls under § 64.1200(a)(7) if those calls met

  the requirements of (i)(A) and (i)(B). But since Dobronski has not plausibly

  alleged a violation of § 64.1200(a)(7), those subsections are inapplicable.

  Therefore, Count IV should be dismissed.

                             5.     Count V – Do Not Call

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        Next, Dobronski alleges violations of 47 C.F.R. § 64.1200(c)(2) for all calls

  except call 7. 47 C.F.R. § 64.1200(c)(2) prohibits telephone solicitations to any

  “residential telephone subscriber who has registered his or her telephone number

  on the national do-not-call registry of persons who do not wish to receive

  telephone solicitations that is maintained by the Federal Government.” Dobronski

  alleges that all of his phone numbers are listed on the National Do Not Call

  Registry, and defendants do not aver otherwise at this stage.

        Defendants argue that based on the TCPA itself, and not the implementing

  regulation, a private right of action for this violation is only available for “[a]

  person who has received more than one telephone call within any 12-month period

  by or on behalf of the same entity in violation of the regulations prescribed under

  this subsection[.]” 47 U.S.C. § 227(c)(5). Dobronski counters that the defendants

  were acting in concert and that based on calls 1, 3, 4, 8, 13, 15, 16, 18, 24, 29, 30,

  31, and 33, they are all liable for having made more than one prohibited telephone

  solicitation within a 12-month period.

        Defendants also argue that § 227(c)(5) does not apply to calls made to

  cellular phones, as some courts have suggested. See Osorio v. State Farm Bank,

  F.S.B., 746 F.3d 1242, 1250 (11th Cir. 2014) (distinguishing “residential telephone

  line” from a “cell-phone number” in dicta); Cunningham v. Politi, No.

  418CV00362ALMCAN, 2019 WL 2517085, at *4 (E.D. Tex. Apr. 30, 2019),

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  report and recommendation adopted, No. 4:18-CV-362, 2019 WL 2524737 (E.D.

  Tex. June 19, 2019) (collecting cases that distinguish cell phones from residential

  telephone subscribers related to claims under § 227(c)(5)).

        Other courts have found that cell phones can potentially qualify as

  residential phone lines. See Stevens-Bratton v. TruGreen, Inc., 437 F. Supp. 3d

  648, 656 (W.D. Tenn. 2020) (listing cases acknowledging that cell phones can

  satisfy the “residential telephone subscriber” element of § 64.1200(c) & (d)

  claims). “A plaintiff, however, must put forth evidence establishing that [his]

  cellular telephone is used for residential purposes.” Id. (citing Cunningham v.

  McDonald, No. 3:15-cv-215, 2018 WL 6737418, at *2 (M.D. Tenn. Nov. 5, 2018),

  report and recommendation adopted, 2018 WL 6198417 (M.D. Tenn. Nov. 28,

  2018); Cunningham v. Cap. Advance Sols., LLC, No. 17-cv-13050-FLW, 2018 WL

  6061405, at *5 (D.N.J. Nov. 20, 2018); Cunningham v. Rapid Cap. Funding,

  LLC/RCF, No. 3:16-CV-02629, 2017 WL 3574451, at *3 (M.D. Tenn. July 27,

  2017), report and recommendation adopted sub nom. 2017 WL 3776165 (M.D.

  Tenn. Aug. 31, 2017)).

        The undersigned finds this line of cases more compelling than those

  suggesting a hardline rule that cell phones can never qualify as residential phones.

  As stated by the Supreme Court, cell phones “are now such a pervasive and

  insistent part of daily life that the proverbial visitor from Mars might conclude they

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  were an important feature of human anatomy.” Riley v. California, 573 U.S. 373,

  385 (2014). That said, the undersigned agrees with Stevens-Bratton that there must

  be plausible allegations supporting the plaintiff’s use of a cell phone as a

  residential line.

         Defendants argue that Dobronski “has not put forth any facts to show that he

  uses his cell phone for residential purposes. Indeed, per his Complaint,

  [Dobronski] already has four residential lines.” (ECF No. 106, PageID.1157).

  While true that Dobronski alleges having at least four other phone lines, he has

  alleged that he “utilizes his cellular telephone primarily for personal, family, and

  household use.” (ECF No. 99, PageID.1011). At this stage, it is plausible that

  Dobronski’s cell phone qualifies as a residential telephone line, and his claims

  need not be parsed out to dismiss those under § 227(c)(5) that are based on calls to

  his cell phone.

         The undersigned recommends that Count V be dismissed as to the individual

  agents, but not dismissed as to Family First. Dobronski has plausibly alleged that

  all of the above phone calls were made by agents affiliated with Family First and

  that Family First is vicariously liable for those calls. This easily satisfies §

  227(c)(5)’s requirement that causes of action be based on receiving more than one

  violative call in a 12-month period. As to the individual agents, Dobronski has not

  alleged beyond a conclusory manner that they acted in concert with one another or

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  were even aware of the calls of other agents. Each agent is only liable for the calls

  made at their direction, and Dobronski has not argued that any of them individually

  caused more than one call to be placed to him within a 12-month period.

  Therefore, this claim should be dismissed as to the agents.

             6.     Count VI-X – Defendants’ Written Do Not Call Policy

        Dobronski says that calls 1-56 violated 47 C.F.R. § 64.1200(d), which

  requires callers to have “instituted procedures for maintaining a list of persons who

  request not to receive telemarketing calls made by or on behalf of that person or

  entity.” “Plaintiff[s] cannot recover for [a defendant’s] refusal to send them its do-

  not-call policy. [They] can only recover for a call made at a time when [the

  defendant] did not have such a policy in place[.]” Hamilton v. Voxeo Corp., No.

  CIV.A. 3:07-CV-404, 2009 WL 1868542, at *4 (S.D. Ohio June 25, 2009).

  Dobronski asserts five claims, one each for § 64.1200(d)(1)-(4) and (6).

        Dobronski has not plausibly alleged any facts related to the maintenance or

  details of a written do not call policy for any defendant except for Vongdara.

  Dobronski alleged that he called and spoke to Vongdara on August 15, 2022.

  (ECF No. 99, PageID.1060). During that call, Dobronski told Vongdara that his

  numbers were on the National Do Not Call Registry, and Vongdara assured him

  that he would not receive further calls since he had purchased a life insurance

  policy (which he had not). (Id.). Dobronski asked Vongdara for a copy of

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  Vongdara’s written do not call policy, and “Vongdara stated that he did not have

  one.” (Id.).

        Based on this alleged conversation, Dobronski has stated claims under §

  64.1200(d) against Vongdara. As to the other defendants, he has failed to allege

  with particularity any indication that they made or were liable for calls while

  failing to maintain a written do not call policy. In fact, Adams and Igweh stated

  that they would inform their call centers to no longer contact Dobronski. (Id.,

  PageID.1061). Therefore, Counts VI-X should be dismissed for all other

  defendants.

                         7.     Count XI – Falsified Caller ID

        Under Count XI, Dobronski alleges that defendants failed to provide caller

  identification information as required under 47 C.F.R. § 64.1601(e)(1). Numerous

  judges in this district have found that this regulation does not promulgate a private

  cause of action. See, e.g., Dobronski v. Total Ins. Brokers, LLC, No. 21-10035,

  2021 WL 4338957, at *7 (E.D. Mich. May 14, 2021); Dobronski v. SunPath Ltd.,

  No. 19-13094, 2020 WL 8840311, at *7 (E.D. Mich July 20, 2020); Dobronski v.

  Selectquote Ins. Servs., 462 F. Supp. 3d 784 790 (E.D. Mich. 2020). Relying on

  the analysis in Worsham v. Travel Options, Inc., No. JKB-14-2749, 2016 WL

  4592373, at *7 (D. Md. Sept. 2, 2016), aff’d, 678 F. App’x 165 (4th Cir. 2017),

  these judges have reasoned that § 64.1601(e)(1) was not promulgated under

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  subsection b or c of the TCPA, and hence includes no private right of action.

        Dobronski argues that the Court should instead follow Worsham v.

  LifeStation, Inc., No. 661, Sept. Term 2020, 2021 WL 5358876 (Md. Ct. Spec.

  App. Nov. 17, 2021). While acknowledging that “the FCC’s consideration of what

  network information must be transmitted via Caller ID is technical,” the

  LifeStation court reasoned that the caller ID requirement fell under the scope of §

  227(c) rather than § 227(d) because it would exceed the scope of regulation under

  the latter, and because it serves § 227(c)’s purpose of “protect[ing] subscribers

  from unrestricted commercial telemarketing calls.” LifeStation, 2021 WL

  5358876, at *17.

        The Michigan Court of Appeals considered whether LifeStation was

  persuasive in another case brought by Dobronski. The court of appeals concluded

  it was not, explaining:

        Having reviewed the statutes, regulations, and relevant case law, we
        conclude that there is no private right of action with respect to 47 CFR
        64.1601(e). First and most critically, there is nothing in the statute that
        clearly indicates that Congress intended for private lawsuits to enforce
        caller-ID requirements. Subsection (b) prohibits certain prerecorded
        robocalls, and subsection (c) provides for various do-not-call
        protections. The caller-ID regulation does not fit squarely within either
        of these subsections, either conceptually or technically. Second and
        relatedly, when promulgating 47 CFR 64.1601(e), the FCC did not
        indicate that either subsection (b) or (c) was the statutory authority for
        that regulation. Had there been an intent to create a private right of
        action by Congress, or an understanding by the FCC that Congress had
        so intended, then one would expect more clarity in the statute or
        regulation, especially when private rights of action were expressly
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        created elsewhere in the federal scheme. If a statute and its
        implementing regulations have expressly created a private right of
        action in one section, but have not expressly done so elsewhere, then it
        is “highly improbable” that Congress and the FCC “absentmindedly
        forgot to mention an intended private action.” Transamerica Mtg
        Advisors, Inc v Lewis, 444 U.S. 11, 20 (1979).

  Dobronski v. Transamerica Life Ins. Co., No. 360506, ____ N.W.2d ___, 2023 WL

  3665869, at *8 (Mich. Ct. App. May 25, 2023).

        A recent case in this district has also reaffirmed the stance that §

  64.1601(e)(1) was not likely intended to contain a private cause of action in the

  absence of any statement to the contrary. Dobronski v. Tobias & Assocs., No.

  5:23-CV-10331, 2023 WL 7005844, at *8 (E.D. Mich. Sept. 25, 2023).

        The undersigned agrees with the reasoning of Dobronski v. Transamerica

  Life Ins. Co. and Dobronski v. Tobias & Assocs.. Given the recent signs of life for

  a private action under this regulation in LifeStation, it is understandable that

  Dobronski has attempted to plead a § 64.1601(e)(1) claim. However, the

  overwhelming authority has found, for good reason, that no such cause of action

  exists. Therefore, the undersigned recommends dismissal of Count XI.

                     8.     Count XII – Violation of the MTCCCA

        Dobronski’s remaining two claims arise under Michigan statutes. The first

  arises under M.C.L. § 484.125(2)(a) of the MTCCCA, which prohibits callers from

  contacting a [telephone] subscriber to deliver “a recorded message for the purpose

  of presenting commercial advertising to the subscriber[.]” He also alleges
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  violation of § 484.125(2)(b), which prohibits callers from delivering “intrastate

  commercial advertising if the caller activates a feature to block the display of caller

  identification information that would otherwise be available to the subscriber.”

        Dobronski’s claim under § 484.125(2)(b) should be dismissed. That section

  governs only intrastate advertising. Though Dobronski has alleged the use of false

  caller ID numbers originating in Michigan, he has pled that every initial call he

  received originated from overseas. Further, he has listed the residence of every

  named defendant, and none reside in Michigan. Accordingly, he has not plausibly

  alleged that anyone he spoke to was calling from Michigan. The MTCCCA

  defines “[i]ntrastate” as “originating and delivering within this state.” §

  484.125(1)(c). Therefore, he has failed to meet an element of the statue on the face

  of the First Amended Complaint.

        Dobronski contends that “[t]he parties initiating the calls certainly wanted to

  fraudulently convey to called parties that the calls were originating in Michigan”

  and that “claims under Count XII are plausible as intrastate telephone solicitations;

  leastwise, until discovery can be had to ascertain the true originating location of

  the initiated calls if they were not initiated from Michigan.” (ECF No. 118,

  PageID.1740). However, the liberal pleading requirements of Rule 8 do not

  “unlock the doors of discovery for a plaintiff armed with nothing more than

  conclusions.” Iqbal, 556 U.S. at 678-79 (2009). Furthermore, Dobronski’s new

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  argument is not supported by the allegations in the First Amended Complaint.

        The other statute at issue in Count XII, M.C.L. § 484.125(2)(a), requires an

  allegation of delivery of a recorded message. It is not limited to intrastate

  communications. Therefore, this claim can proceed, but only as to calls 3 and 13,

  as discussed above. Those calls, implicating Grant, Perez, and Family First,

  allegedly began with a recorded message for the purpose of commercial

  advertising. Count XII should not be dismissed as to causes of action under §

  484.125(2)(a) for calls 3 and 13, but should otherwise be dismissed.

                      9.     Count XIII – Violation of the MHSSA

        Dobronski’s final stated causes of action arise under M.C.L. § 445.111a(5)

  and § 445.111b(1). § 445.111a(5) states: “A telephone solicitor shall not make a

  telephone solicitation to a residential telephone subscriber whose name and

  residential telephone number is on the then-current version of the federal list.” §

  445.111b(1) requires a person making a telephone solicitation to state his or her

  name and the full name of the organization or other person on whose behalf the

  call was initiated at the beginning of the call. It also requires the caller to provide a

  phone number for the organization or other person upon request.

        Dobronski has clearly alleged receipt of phone calls in violation of these

  statutes. Defendants’ arguments against the claims essentially rest on their theory

  that they are not vicariously liable for the calls initiated by overseas telemarketers.

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  Thus, for the calls that Dobronski has standing to proceed on (calls 1, 3, 4, 7, 8, 13,

  15, 16, 18, 24, 29, 30, 31, and 33) he has stated a claim under the MHSSA against

  Family First and the individual agents moving for dismissal.

                                    E.     Willfulness

        Dobronski has alleged treble damages under the TCPA for willfulness. See

  47 U.S.C. § 227(c)(5). Courts are split on the issue of whether TCPA violations

  for numbers appearing on the National Do Not Call Registry are per se willful

  violations.

        Some courts have found that calling a number on the Registry is sufficient to

  state a claim for a willful violation. See Dobronski v. Total Ins. Brokers, LLC,

  2021 WL 4452218, at *4 (“Plaintiff asserts that his phone number was on the DNC

  Registry at the time of the first call. Accordingly, he alleges sufficient facts to

  state a claim that the first call on November 24, 2020 was a willful violation of the

  TCPA.”); Litz v. My Car Warrior, LLC, No. 120CV00377TWPDLP, 2020 WL

  3546129, at *4 (S.D. Ind. June 30, 2020) (holding that a telemarketing call to a

  number on the Do Not Call Registry was a willful violation of the TCPA);

  Krakauer, 925 F.3d at 662 (holding that it is a willful violation of the TCPA where

  a defendant’s agent calls numbers on the Do Not Call Registry or where a

  company is aware that its agent calls numbers on the Do Not Call Registry but fails

  to act); Shelton v. Fast Advance Funding, LLC, 378 F. Supp. 3d 356, 363 (E.D. Pa.

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  2019) (holding that the defendant’s twenty-two calls to a number on the Do Not

  Call Registry were each willful violations of the TCPA where the defendant’s

  business practice was to neither purchase the Do Not Call Registry nor review it).

        However, more courts in this district have found that a plaintiff must allege

  something beyond a mere TCPA violation (including one’s number on the Do Not

  Call Registry) to show willfulness. See Bristow v. Am. Nat’l Ins. Co., No. 2:20-

  CV-10752, 2021 WL 2201171, at *2 (E.D. Mich. June 1, 2021) (“[T]he statute and

  associated regulations do not themselves explicitly provide that mere failure to

  check the Do-Not-Call Registry constitutes a knowing or willful violation of 47

  U.S.C. § 227(c)[,]” nor does “the constructive notice which may be afforded by the

  Registry automatically mean that calling someone on the Registry equates to a

  willful or knowing violation of the TCPA.”); Harris v. World Fin. Network Nat’l

  Bank, 867 F.Supp.2d 888, 895 (E.D. Mich. 2012) (“The Court disagrees with

  Plaintiff’s position that, in order to establish that Defendants’ conduct was willful

  or knowing, he must only demonstrate that Defendants intended to use the

  autodialer to place the calls. . . . Plaintiff must also show that Defendants knew

  that Plaintiff did not consent to the phone calls.”); Currier v. PDL Recovery Grp.,

  LLC, No. 14-12179, 2017 WL 712887, at *10 (E.D. Mich. Feb. 23, 2017) (holding

  that to demonstrate a knowing violation of 47 U.S.C. § 227(b), a plaintiff must

  show that the defendant knew he or she did not consent to the phone calls);

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  Duchene v. Onstar, LLC, No. 15-13337, 2016 WL 3997031, at *7 (E.D. Mich. July

  26, 2016) (“[T]he Court holds that a willful or knowing violation of [the] TCPA

  requires that Plaintiff has to plead that Defendant was made aware of/notified that

  Plaintiff did not consent to calls from Defendant.”).

        The undersigned is persuaded by the majority of courts in this district.

  Dobronski must allege something beyond a TCPA violation in order to state a

  claim for treble damages. Otherwise, the provision would be superfluous. Here,

  Dobronski merely alleges that his TCPA damages “shall be trebled because the

  violations were willful and/or knowing[.]” (ECF No. 99, PageID.1069). He has

  not, for instance, alleged that he received calls from the same agent after informing

  the agent to stop calling him. Therefore, Dobronski’s claim for treble damages

  based on willful conduct should be dismissed.

           F.     Group Pleading and Motions for More Definite Statement

        Several defendants have asked the Court to dismiss Dobronski’s First

  Amended Complaint for impermissible group pleading. Some argue that,

  alternatively, Dobronski should be ordered to provide a more definite statement.

  The aspect of the complaint defendants take issue with is that Dobronski’s Counts

  do not specify which defendants are allegedly liable for which Counts.

                         1.     Impermissible Group Pleading

        The general rules of pleading provide that “[a] pleading that states a claim

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  for relief must contain . . . a short and plain statement of the claim showing that the

  pleader is entitled to relief[.]” Fed. R. Civ. P. 8(a)(2). This rule requires that

  Dobronski “provide the defendants ‘adequate notice of the claims against them and

  the grounds upon which each claim rests.’ ” Lee v. Ohio Educ. Ass’n, 951 F.3d

  386, 392-93 (6th Cir. 2020) (quoting Vibe Micro, Inc. v. Shabanets, 878 F.3d 1291,

  1295 (11th Cir. 2018));see also Cincinnati Life Ins. Co. v. Beyrer, 722 F.3d 939,

  946 (7th Cir. 2013) (“ ‘The primary purpose of [Fed. R. Civ. P. 8 and 10(b)] is to

  give defendants fair notice of the claims against them and the grounds supporting

  the claims.’ ”) (quoting Stanard v. Nygren, 658 F.3d 792, 797 (7th Cir. 2011)).

  Courts have found that “ ‘shotgun’ allegations of general misconduct” by a group

  of defendants is not sufficient to state a claim against each. Kerrigan v. ViSalus,

  Inc., 112 F. Supp. 3d 580, 601 (E.D. Mich. 2015).

                             2.     More Definite Statement

        “If a pleading fails to specify the allegations in a manner that provides

  sufficient notice, a defendant can move for a more definite statement under Rule

  12(e) before responding.” Swierkiewicz v. Sorema N.A., 534 U.S. 506, 514 (2002).

  The federal rules provide that “if a pleading to which a responsive pleading is

  permitted is so vague or ambiguous that a party cannot reasonably be required to

  frame a responsive pleading, the party may move for a more definite statement

  before interposing a responsive pleading.” Fed. R. Civ. P. 12(e). But “[i]f the

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  complaint meets the notice pleading requirements of Rule 8 of the Federal Rules of

  Civil Procedure, the motion should be denied.” McCloy v. Corr. Med. Servs., No.

  07-13839, 2008 WL 5350623, at *1 (E.D. Mich. Dec. 18, 2008). “Whether to

  grant a motion for a more definite statement is within the discretion of the trial

  court.” Boddie v. MTD, No. 07-1227-T, 2008 WL 11320012, at *3 (W.D. Tenn.

  July 25, 2008) (citing 5A Wright & Miller, Federal Practice and Procedure: Civil

  2d § 1376).

                                    3.     Discussion

        Defendants note that a magistrate judge in this district has previously

  recommended dismissal of a complaint in one of Dobronski’s other cases for

  impermissible group pleading. See Dobronski v. Tobias & Assocs., supra. There,

  the magistrate judge found it “problematic” that Dobronski pled nine counts

  without any being “clearly directed at any particular Defendant.” 2023 WL

  7005844, at *6. Relying on Kerrigan and Lanman v. Hinson, 529 F.3d 673, 684

  (6th Cir. 2008), the magistrate judge recommended dismissal because “Plaintiff’s

  allegations improperly group[ed] the Defendants together[,] failing to provide

  Defendants with proper notice of the basis of the individual claims against each

  Defendant.”

        Other courts, however, have found that, where the allegations against each

  defendant are outlined in the complaint, grouping defendants together under counts

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  to which they are all alleged to be liable is permissible. See Gold Crest, LLC v.

  Project Light, LLC, 525 F. Supp. 3d 826, 835 (N.D. Ohio 2021) (citing Berry v.

  Cahoon, 731 F. Supp. 2d 685, 688 (S.D. Ohio 2010); Hale v. Enerco Grp., Inc.,

  No. 1:10-cv-00867-DAP, 2011 WL 49545, at *4 (N.D. Ohio Jan. 5, 2011)). Courts

  outside of the Sixth Circuit have agreed that group pleading under the causes of

  action is permissible “following plaintiff's identification of each specific defendant

  and their role in the alleged scheme[.]” Navient Sols., LLC v. L. Offs. of Jeffrey

  Lohman, No. 119CV461LMBTCB, 2020 WL 1867939, at *7 (E.D. Va. Apr. 14,

  2020) (citing CSX Transp., Inc. v. Gilkison, No. 5:05CV202, 2012 WL 1598081, at

  *3, *12 (N.D.W. Va. May 3, 2012)).

        Here, Dobronski has outlined each defendant’s role in the violations he

  alleges under the TCPA, MTCCCA, and MHSSA. Therefore, in the undersigned’s

  opinion, it is not problematic that Dobronski asserts each Count against all

  defendants. This is not a case where the entire complaint is unclear as to which

  defendants are liable for which calls. Thus, the undersigned does not recommend

  that Dobronski’s First Amended Complaint be dismissed in its entirety for group

  pleading nor that Dobronski be ordered to file a more definite statement.

                                    VII. Conclusion

        For the reasons stated above, the undersigned RECOMMENDS that

  Americo’s motion to dismiss, (ECF No. 103), Great Western’s motion to dismiss,

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  (ECF No. 105), and United’s motion to dismiss, (ECF No. 113), be GRANTED

  and that they be DISMISSED from the case. The undersigned further

  RECOMMENDS that Family First’s motion, (ECF No. 107), Vongdara, Adams,

  Grant, Powell, Wickham, Igweh, and Bonanno’s motion, (ECF No. 106), and

  Scheifele and Christle’s motion, (ECF No. 143), be GRANTED IN PART and

  DENIED IN PART.

        Specifically, Dobronski only has standing to pursue claims based on calls 1,

  3, 4, 7, 8, 13, 15, 16, 18, 24, 29, 30, 31, and 33. Claims based on all other calls

  should be dismissed. Further, Count II should be dismissed except for calls 3 and

  13 against defendants Perez, Grant, and Family First. Counts III and IV should be

  dismissed in their entirety. Count V should be dismissed as to the individual

  agents, but not as to Family First. Counts VI through X should be dismissed as to

  all defendants except Vongdara. Count XI should be dismissed in its entirety.

  Count XII should be dismissed except for the claim under M.C.L. § 484.125(2)(a)

  based on calls 3 and 13. Counts I and XIII should remain in their entirety.

        If these recommendations are adopted, the following claims/defendants

  remain: Count I as to Family First and the individual defendants; Count II as to

  Perez, Grant, and Family First; Count V as to Family First; Counts VI through X as

  to Vongdara; Count XII as to Perez, Grant, and Family First; and Count XIII as to

  Family First and the individual defendants.

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  Dated: January 19, 2024                         s/Kimberly G. Altman
  Detroit, Michigan                               KIMBERLY G. ALTMAN
                                                  United States Magistrate Judge

               NOTICE TO PARTIES REGARDING OBJECTIONS

        The parties to this action may object to and seek review of this Report and

  Recommendation. Any objections must be filed within 14 days of service, as

  provided for in Federal Rule of Civil Procedure 72(b)(2) and Local Rule 72.1(d).

  Failure to file specific objections constitutes a waiver of any further right of

  appeal. Thomas v. Arn, 474 U.S. 140, 144 (1985); Howard v. Sec’y of Health &

  Human Servs., 932 F.2d 505, 508 (6th Cir. 1991). Filing objections that raise some

  issues but fail to raise others with specificity will not preserve all the objections a

  party might have to this Report and Recommendation. Willis v. Sec’y of Health &

  Human Servs., 931 F.2d 390, 401 (6th Cir. 1991); Smith v. Detroit Fed’n of

  Teachers, Local 231, 829 F.2d 1370, 1373 (6th Cir. 1987). Under Local Rule

  72.1(d)(2), any objections must be served on this Magistrate Judge.

        Any objections must be labeled as “Objection No. 1,” “Objection No. 2,”

  etc. Any objection must recite precisely the provision of this Report and

  Recommendation to which it pertains. Not later than 14 days after service of an

  objection, the opposing party may file a concise response proportionate to the

  objections in length and complexity. Fed. R. Civ. P. 72(b)(2); E.D. Mich. LR

  72.1(d). The response must specifically address each issue raised in the objections,

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  in the same order, and labeled as “Response to Objection No. 1,” “Response to

  Objection No. 2,” etc. If the Court determines that any objections are without

  merit, it may rule without awaiting the response.



                           CERTIFICATE OF SERVICE

         The undersigned certifies that the foregoing document was served upon
  counsel of record and any unrepresented parties via the Court’s ECF System to
  their respective email or First Class U.S. mail addresses disclosed on the Notice of
  Electronic Filing on January 19, 2024.

                                                s/Carolyn M. Ciesla
                                                CAROLYN M. CIESLA
                                                Case Manager




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